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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

In re:                                         )
                                               )
DENE AURIELLE SHAEFFER,                        ) Case No 17-30052
                                               ) Chapter 7
                                               )
Debtor(s).                                     )

          MOTION FOR DETERMINATION OF CONTEMPT AND SANCTIONS
               FOR VIOLATION OF THE DISCHARGE INJUNCTION

         COMES NOW, Debtor, DENE AURIELLE SHAEFFER, by and through her
undersigned counsel, Michael J. Benson, and for her Motion for Determination of Contempt and
Sanctions for Violation of the Discharge Injunction states as follows:
    1) That Debtor filed a Chapter 7 Bankruptcy in the Southern District of Illinois on January
         20, 2017.
    2) Jurisdiction is conferred on this Court pursuant to the provisions of 28 U.S.C. §1334 in
         that this proceeding arises in and is related to the above-captioned Chapter 7 case under
         Title 11 and concerns the Order of Discharge entered in such case.
    3) This Court has both personal and subject matter jurisdiction to hear this case pursuant to
         28 U.S.C. § 1334, 28 U.S.C. § 157(b)(2), 11 U.S.C. § 105 and 11 U.S.C. § 524.
    4) Venue lies in this District pursuant to 28 U.S.C. §1391(b) and 28 U.S.C. §1409.
    5) That Debtor listed a debt owed to Mikol and Dan Rosenbalm (hereinafter referred to as
         “Rosenbalm”), prior landlord, in her bankruptcy schedules with an address of PO Box
         873222, Wasilla, AK 99687.
    6) That on May 9, 2017 this Court entered an Order of Discharge in the instant matter.
    7) That on May 11, 2017 this Court filed a Certificate of Notice identifying Mikol and Dan
         Rosenbalm with an address of PO Box 873222, Wasilla, AK 99687 as one of the
         creditors mailed notice of the discharge.
    8) That the Order of Discharge contains an “Explanation of Bankruptcy Discharge in a
         Chapter 7 Case” and, inter alia, states, “Creditors cannot collect discharged debts.
         This order means that no one may make any attempt to collect a discharged debt from the
         debtors personally. For example, creditors cannot sue, garnish wages, assert a deficiency,


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   or otherwise try to collect from the debtors personally on discharged debts. Creditors
   cannot contact the debtors by mail, phone, or otherwise in any attempt to collect the debt
   personally. Creditors who violate this order can be required to pay debtors damages and
   attorney’s fees.”
9) During the pending bankruptcy, on January 25, 2017, Rosenbalm retained the legal
   services of Don Cary Collins to file a Motion for Relief of Stay.
10) That on February 16, 2017 this Court entered an Order Modifying the Automatic Stay
   which ordered, inter alia, “The automatic stay heretofore entered is modified to the extent
   necessary to allow Daniel Rosenbalm and Mikol B. Rosenbalm to proceed with enforcing
   their Forcile Entry & Detainer Order for Possession in the Circuit Court of the Twentieth
   Judicial Circuit, St. Clair County, Illinois, Case #16-LM-1959, concerning the
   Residential Lease Agreement involving real property located at 230 Shawnee Court,
   O’Fallon, Illinois 62269.
11) On or about the weekend of February 24-26, 2017, Debtor moved out of the property
   located at 230 Shawnee Court, O’Fallon, IL 62269 and relinquished possession to
   Rosenbalm.
12) That on March 4, 2017, Rosenbalm emailed Debtor stating, “I totally intend to sue her
   once her bankruptcy case is dismissed.”
13) On or about August 9, 2017, Debtor registered her son in the 4th grade at Laverna Evans
   Elementary School in O’Fallon, IL and her daughter in the 8th grade at Amelia Carriel
   Junior High School in O’Fallon, IL.
14) On or about August 9, 2017, Debtor signed a residential lease in the school district for the
   above schools to start on or about August 12, 2017 with Rob Cole from Judy Dempsey
   Realty.
15) On August 11, 2017 Rob Cole informs Debtor that he terminated her lease based upon
   “new information” that he received.
16) That Rosenbalm contacted Rob Cole to purposely cause Debtor to lose her new lease
   through Judy Dempsey Realty.
17) That Rosenbalm’s action above caused Debtor and her minor children to be suddenly
   without a residence and forcing them to temporarily live in a hotel.
18) That on August 28, 2017, Rosenbalm sent several disturbing texts to Debtor.

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19) Rosenbalm states via text, “How did the registration with your fake lease go?”
20) Rosenbalm further states via text, “District 90s no private school fool.”
21) Rosenbalm continues to state via text, “I’m filing my suit against you this week. Just
   needed your bankruptcy to be final.”
22) Rosenbalm continues to berate Debtor via text stating, “Rob and I are going to get your
   nigger kids.”
23) Rosenbalm again continues via text stating, “Whatever fake Judy Dempsey lease.”
24) That Rosenbalm acknowledges knowing and having spoken to Rob Cole by the above
   texts.
25) On September 5, 2017, both of Debtors children were removed from the above schools.
26) That 11 U.S.C §524(a)(2) states “A discharge in a case under this title operates as an
   injunction against the commencement or continuation of an action, the employment of
   process, or an act, to collect, recover or offset any such debt as a personal liability of the
   debtor, whether or not discharge of such debt is waived.”
27) Rosenbalm has violated the above discharge injunction by continuously harassing and
   threatening Debtor, by taking the above actions to abuse and punish Debtor and her
   minor children and by threatening lawsuits to collect the debt even after the bankruptcy
   has concluded and a discharge order entered.
28) In committing one or more of the above acts Rosenbalm acted unreasonably, willfully,
   and in a vexatious manner, and forced Debtor to bring this Motion for Determination of
   Contempt.
29) That as a direct and proximate result of such conduct, Debtor has:
       a. Experienced damages of extreme emotional distress, embarrassment, humiliation
            and mental anguish in addition to and on behalf of her minor children;
       b. Incurred other actual damages;
       c. Incurred additional attorney fees at the rate of $200.00 per hour and expenses of
            litigation.
       d. Furthermore, these violations of the discharge injunction are willful and done with
            malice in order to harass and harmfully punish Debtor and create a hardship to
            defend an action and to unreasonably multiply the legal proceedings by
            potentially forcing Debtor to defend a proceeding separate and apart from the

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           completed bankruptcy case, all in an effort to collect from the Debtor and to
           intimidate the Debtor into doing whatever is necessary to pay the debt.
   WHEREFORE, Debtor, DENE AURIELLE SHAEFFER, respectfully requests for the
entry of an Order finding Creditor, Mikol and Dan Rosenbalm, to be in contempt for willful
violation of this Court’s May 9, 2017 Discharge Order, and award Debtor damages, costs,
punitive damages and attorneys’ fees, and for any and other such relief as this Court deems
just and equitable.
                                 RESPECTFULLY SUBMITTED,


                                 By: /s/MICHAEL J. BENSON
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                                CERTIFICATE OF SERVICE

        Comes now Debtor, DENE AURIELLE SHAEFFER, by and through her attorney, and
certifies that on November 14, 2017 via first-class mail, postage prepaid, a true and accurate copy
of the Motion for Determination of Contempt and Sanctions for Violation of the Discharge
Injunction was served upon the following people that were not served electronically:

Russell C. Simon
Chapter 13 Trustee
24 Bronze Pointe
Swansea, IL 62226

U.S. Trustee
Becker Building, Ste. 1100
401 Main St.
Peoria, IL 61602

Mikol and Dan Rosenbalm
P.O. Box 873222
Wasilla, AK 99687

Don Cary Collins
126 West Main Street
Belleville, IL 62220


                                                     /s/ Michael J. Benson




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